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 8
                                UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10

11
     LinkedIn Corporation,                    Case No. 4:22-cv-00651-HSG
12
                   Plaintiff,                 FINAL JUDGMENT ON CONSENT
13
            vs.
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   Mantheos Pte. Ltd., Jeremiah Tang, Yuxi
15 Chew, and Stan Kosyakov

16                 Defendants.

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                                     FINAL JUDGMENT ON CONSENT
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 1
                                   FINAL JUDGMENT ON CONSENT
 2                  WHEREAS, on February 1, 2022, LinkedIn filed a Complaint against Defendants
 3 Mantheos Pte. Ltd., Jeremiah Tang, Yuxi Chew, and Stan Kosyakov (collectively, “Defendants”)

 4 alleging that Defendants engaged in unlawful acts of breach of contract, fraud and deceit, and

 5 misappropriation and violated the Lanham Act, 15 U.S.C. § 1125(c).
                    WHEREAS, LinkedIn alleges that Defendants gained unauthorized access to the
 6
     LinkedIn website and LinkedIn member profile data, extracted and copied data from millions of
 7
     LinkedIn member profile pages using an automated process known as “scraping,” and used
 8
     hundreds of fake LinkedIn member accounts and prepaid debit cards under fake names to
 9 fraudulently obtain access to LinkedIn Sales Navigator;

10                  WHEREAS, LinkedIn served Defendants with the Summons and Complaint on

11 February 3, 2022;
                    WHEREAS, Defendants have not filed an answer in this matter, but deny liability
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     for the actions alleged in the Complaint;
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                    WHEREAS, Defendants consent to this Court’s jurisdiction over them for the
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     purposes of entry and enforcement of this Final Judgment on Consent;
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                    WHEREAS, LinkedIn and Defendants (collectively, the “parties”) have reached an
16 agreement for resolution of the action; and

17                  THEREFORE, Defendants consent and stipulate to judgment in favor of LinkedIn

18 and authorize the Court to enter judgment granting relief in favor of LinkedIn as follows:
                    Defendants, and all of their officers, directors, agents, servants, and employees, and
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     all persons in active concert or participation or in privity with any of them, ARE HEREBY
20
     PERMANENTLY RESTRAINED AND BARRED from:
21
            a.      Accessing or attempting to access or use LinkedIn’s website, computers, computer
22 systems, computer network, or computer programs (collectively, “LinkedIn’s Servers”), and data

23 stored therein (“LinkedIn Data”), through scraping, crawling, and/or the use of bots or other

24 automated technologies as described in ¶¶ 51–61 of the Complaint filed in this Action, or

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                                        FINAL JUDGMENT ON CONSENT
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     otherwise in violation of LinkedIn’s User Agreement;
 2                  b.      Marketing, advertising, or otherwise making any statements or
 3 representations to anyone regarding the scraping, inclusion or availability of LinkedIn member

 4 data on Defendants’ website or through Defendants’ services;

 5                  c.      Circumventing any technological measure that controls access to

     LinkedIn’s Servers;
 6
                    d.      Offering, selling, making available for sale, or otherwise copying and/or
 7
     transferring (including for free) LinkedIn Data to any third party, or offering or developing any
 8
     software or services that can be used by third parties to obtain LinkedIn Data from LinkedIn’s
 9 Servers in automated ways.

10                  e.      Enrolling or attempting to enroll in subscriptions and/or trials of Sales

11 Navigator or any other LinkedIn product by means of fraud and deceit, including but not limited to
     enrollment using LinkedIn accounts registered under fictitious names; or
12
                    f.      Engaging in any activity likely to dilute the distinctiveness of LinkedIn’s
13
     registered marks.
14
            Defendants represent that they have destroyed all LinkedIn member profile data, whether
15
     stored in electronic form or otherwise, in their possession, custody, or control and have certified in
16 writing that they have done so.

17          Violation of this Final Judgment on Consent shall expose Defendants and all other persons

18 bound by this Final Judgment on Consent to all applicable penalties, including contempt of Court.
            All claims and defenses in this action are hereby resolved by this Final Judgment on
19
     Consent. This Final Judgment on Consent is final and may not be appealed by any party. The
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     Clerk shall enter this Final Judgment on Consent forthwith.
21
            This Court shall retain continuing jurisdiction over the parties and the action for purposes
22 of enforcing this Final Judgment on Consent.

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                                         FINAL JUDGMENT ON CONSENT
       Case 4:22-cv-00651-HSG Document 19 Filed 05/09/22 Page 4 of 5




 1 DATED: May 6, 2022                MUNGER, TOLLES & OLSON LLP

 2
                                     By:    /s/ Jonathan H. Blavin
 3                                         JONATHAN H. BLAVIN
                                           Attorneys for LinkedIn Corporation
 4

 5                                   QUINN EMANUEL URQUHART & SULLIVAN, LLP
     DATED: May 6, 2022
 6
                                     By:   /s/ Terry L. Wit
 7
                                           TERRY L. WIT
                                           Attorneys for Defendants
 8

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10 FINAL JUDGMENT: PURSUANT TO STIPULATION, IT IS SO ORDERED.

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12 DATED: May 9, 2022                      HONORABLE HAYWOOD S. GILLIAM, JR.
                                           U.S. DISTRICT JUDGE
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                                FINAL JUDGMENT ON CONSENT
        Case 4:22-cv-00651-HSG Document 19 Filed 05/09/22 Page 5 of 5




 1                                         ECF ATTESTATION

 2
            I, Jonathan H. Blavin, attest that all other signatories listed, and on whose behalf the filing
 3 is submitted, concur in the filing’s content and have authorized the e-filing of the foregoing

 4 document in compliance with Local Rule 5-1(h)(3).

 5                                                       /s/ Jonathan H. Blavin
                                                         Jonathan H. Blavin
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                                 [PROPOSED] FINAL JUDGMENT ON CONSENT
